
The Supreme Court affirmed the decree of the Common Pleas on April 27, 1885, in the following opinion:
Per Curiam.
All the assignments of error are to the refusal of the Court to sustain the exceptions to the report of the Auditor. An examination of the whole case convinces us that the Court was right. It was. admitted before the Auditor that the judgment in favor of Barrett was confessed for the purpose of defrauding the honest creditors of the defendant therein, nor was it seriously contended that it was based on any valid consideration. Tt was therefore properly postponed in the distribution and the money given to the second execution. AVhen a person confesses a fraudulent judgment in which he has waived the benefit of the law exempting three hundred dollars worth of property from execution, he is in no condition to claim three hundred dollars out of the proceeds of the sale. Although the judgment be invalid as to his creditors who seek to avoid it, yet as to him it remains in full force.
Decree affirmed, and appeal dismissed at the costs of the appellants.
